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                                                                                       FILED
                                                                                     US DISTRICT COURT
                          IN THE UNITED STATES DISTRICT COURT                    EASTERN D'~TRICT ARKANSAS

                             EASTERN DISTRICT OF ARKANSAS                             OCT 112011
                                   WESTERN DIVISION
                                                                            JAM~NtlM~~~rf                ERK
                                                                            BY:_W~lLLl~L..LJ~pI(:j-~
                                                                                              DEP CLERK
UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                     Case No. 4:09-cr-00348-JMM-l

ORLANDO MARTREL THOMAS                                                               DEFENDANT

                                              ORDER

       The passage of the Fair Sentencing Act of 2010 and amendments to the Federal Sentencing

Guidelines which may take effect on November 1, 2011 provide for retroactive consideration of

reduction of sentences for certain defendants convicted of offenses involving "crack" cocaine. 1

Defendant appears to be eligible for consideration for a reduction. However, a reduction is not

mandatory and must be considered by the courts on a case by case basis. Defendant is entitled to be

represented by counsel.

       Previously Defendant was found eligible for appointed counsel. Therefore, the Court

appoints Federal Public Defender Office to represent Defendant in all further proceedings in

connection with sentencing issues. Accordingly, Defendant's appointed counsel must obtain a

current executed financial affidavit from the Defendant and file it with the Court within twenty (20)

days from the date of this order, to demonstrate that Defendant continues to qualify for appointed

counsel.




        See the United States Sentencing Commission's "Reader-Friendly" Version of the Final 2011
Guideline Amendment Implementing the Fair                 Sentencing      Act,     available at
http://www.ussc.gov/Meetings_and_Rulemaking/Materials_on_Federal_Cocaine_Offenses/20110428_RF
_Amendments_Pages.pdf

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       Of course, Defendant may retain counsel of his choice if he has the financial ability to do so.

Defendant must inform the Court of his choice by checking the appropriate box, signing, and

returning the enclosed Response to Order from within twenty (20) days of the date of this Order.

       To Defendant: There are many cases from the Eastern District ofArkansas where the

defendant was convicted of a crack cocaine offense and may be eligible for reduction of

sentence. They cannot all be handled at once. The Court is trying to be sure that cases are

considered early enough so no defendant loses the full benefit ofany favorable ruling. In order

to do this, the Court is processing the cases according to the defendants' projected release

dates. Your projected release date may be more remote than other cases, so do not be

impatient if your case is not immediately reached. Counsel and the Court will make every

effort to be sure that it is timely considered.

       The Clerk is hereby directed to mail a copy of this Order to the defendant along with a

Response to Order form, and a self-addressed stamped envelope. A copy of this Order should be sent

to the Federal Public Defender Office.

       IT IS SO ORDERED this 11 th day of October, 2011.




                                                        UNITED STATES MAGISTRATE JUDGE




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